3:24-cv-02651-MGL-SVH    Date Filed 04/30/24    Entry Number 1-1     Page 1 of 10




                   Tremell Washington v. Palmetto State Armory LLC



                                EXHIBIT A
                        NOTICE OF REMOVAL


                  STATE COURT PLEADINGS
3:24-cv-02651-MGL-SVH            Date Filed 04/30/24       Entry Number 1-1         Page 2 of 10




                                                                                                      ELECTRONICALLY FILED - 2024 Apr 01 11:49 AM - LEXINGTON - COMMON PLEAS - CASE#2024CP3201435
 STATE OF SOUTH CAROLINA                             IN THE COURT OF COMMON PLEAS
                                                        ELEVENTH JUDICIAL CIRCUIT
 COUNTY OF LEXINGTON

                                                                   SUMMONS
                                                              (Jury Trial Demanded)
 Tremell Washington,

                               Plaintiff,

 v.

 Palmetto State Armory LLC,

                               Defendant.


TO THE DEFENDANT ABOVE NAMED:

       YOU ARE HEREBY SUMMONED and required to answer the Complaint herein, a copy

of which is served upon you, and to serve a copy of your answer to this Complaint upon the

subscriber at the address shown below within thirty (30) days (thirty five (35) days if served by

United States Mail) after service hereof, exclusive of the date of such service, and if you fail to

answer the Complaint, judgment by default will be rendered against you for the relief demanded

in the Complaint.

                                             CROMER BABB & PORTER, LLC

                                             BY: s/ Chance Sturup
                                                    J. Paul Porter (#100723)
                                                    Chance Sturup (#105647)
                                                    Post Office Box 11675
                                                    Columbia, South Carolina 29211
                                                    Phone: 803-799-9530
                                                    Fax: 803-799-9533
                                                    chance@cromerbabb.com
                                                    paul@cromerbabb.com
                                                    Attorneys for Plaintiff

April 1, 2024
Columbia, South Carolina

                                                1
3:24-cv-02651-MGL-SVH             Date Filed 04/30/24       Entry Number 1-1          Page 3 of 10




                                                                                                       ELECTRONICALLY FILED - 2024 Apr 01 11:49 AM - LEXINGTON - COMMON PLEAS - CASE#2024CP3201435
 STATE OF SOUTH CAROLINA                             IN THE COURT OF COMMON PLEAS
                                                        ELEVENTH JUDICIAL CIRCUIT
 COUNTY OF LEXINGTON


                                                                  COMPLAINT
 Tremell Washington,
                                                              (Jury Trial Demanded)
                                Plaintiff,

 v.

 Palmetto State Armory LLC,

                                Defendant.


                                     EMPLOYMENT CASE

       Plaintiff, complaining of the Defendant, respectfully alleges the following:

                                 PARTIES & JURISDICTION

       1.      Plaintiff, Tremell Washington, is a citizen and resident of Orangeburg County,

South Carolina.

       2.      Defendant, Palmetto State Armory (“Defendant”), is a privately owned arms

retailer in South Carolina.

       3.      The Parties have sufficient connections to Lexington County, South Carolina,

because this is where Defendant employed Plaintiff and where the events at issue occurred. Thus,

jurisdiction and venue are proper.

       4.      Plaintiff’s claims arise under Title VII of the Civil Rights Act of 1964, as amended,

42 U.S.C. 2000e et seq. (“Title VII”) and South Carolina law.

       5.      Plaintiff exhausted his administrative remedies by timely filing a Charge of

Discrimination with the Equal Employment Opportunity Commission. Plaintiff received his

Notice of Right to Sue, and this action is timely.

                                                 2
3:24-cv-02651-MGL-SVH             Date Filed 04/30/24       Entry Number 1-1         Page 4 of 10




                                                                                                       ELECTRONICALLY FILED - 2024 Apr 01 11:49 AM - LEXINGTON - COMMON PLEAS - CASE#2024CP3201435
        6.     This Court can exercise subject matter jurisdiction over these claims.

                                  FACTUAL ALLEGATIONS

        7.     Plaintiff is a black male.

        8.     Plaintiff was employed by Defendant as an AK Armorer from November 15, 2021

until September 6, 2022.

        9.     At all times, the Plaintiff performed the functions of his job in a competent, if not

more than competent, manner.

        10.    During Plaintiff’s employment, Defendants employees, including supervisors, used

the “n-word” around Plaintiff.

        11.    Plaintiff complained to Defendant’s management regarding the use of racial

epithets.

        12.    On August 30, 2022, Plaintiff came to work to discover that a white coworker had

tied an air-hose into a noose at Plaintiff’s workstation.

        13.    Plaintiff brought the noose to the attention of Cameron Tapler, Defendant’s Plant

Manager, a white male.

        14.    Tapler laughed at Plaintiff’s complaint.

        15.    Tapler moved the noose to another location.

        16.    On September 1, 2022, Plaintiff was forced to leave work early due to a severe

migraine.

        17.    Plaintiff informed a supervisor, Will Peavyhouse, a white male, that he needed to

leave early.

        18.    After notifying his supervisor, Plaintiff left from work.




                                                  3
3:24-cv-02651-MGL-SVH              Date Filed 04/30/24      Entry Number 1-1          Page 5 of 10




                                                                                                        ELECTRONICALLY FILED - 2024 Apr 01 11:49 AM - LEXINGTON - COMMON PLEAS - CASE#2024CP3201435
       19.     Nevertheless, Peavyhouse proceeded to inform Plaintiff’s co-workers that Plaintiff

had abandoned the job for the day without informing Peavyhouse or other management.

       20.     Plaintiff also discovered on September 1, 2022, that his co-workers posted racist

material on their Facebook pages.

       21.     The next day, September 2, 2022, Plaintiff arrived to work only to discover that

there was no electrical power at his workstation.

       22.     Plaintiff’s white co-worker, Danny Davis, remarked that Plaintiff needed to put on

a “I can’t breathe” shirt and put his hands into the air.

       23.     Davis’s remark was a crude and racist reference to George Floyd and Michael

Brown, two black men who were murdered by white police officers.

       24.     Plaintiff called Defendant’s human resources office to inform them of Davis’s racist

comments as well as the noose that was hung in his workstation.

       25.     Later that day, Plaintiff returned from a lunch break to discover that the noose had

been re-hung at neck height in Plaintiff’s workstation.

       26.     Plaintiff complained to Andrew Outlaw, Defendant’s Team Leader, about the re-

hung noose.

       27.     Plaintiff stated that he was struggling to not become offended at the racist

behaviors.

       28.     Outlaw ignored Plaintiff’s complaints and simply walked away.

       29.     Plaintiff then called Peavyhouse, who told Plaintiff that if Plaintiff wanted anything

done about the noose, Plaintiff would have to remove the noose himself.

       30.     Plaintiff then went to talk to Tapler about the re-hung noose.




                                                   4
3:24-cv-02651-MGL-SVH             Date Filed 04/30/24      Entry Number 1-1         Page 6 of 10




                                                                                                      ELECTRONICALLY FILED - 2024 Apr 01 11:49 AM - LEXINGTON - COMMON PLEAS - CASE#2024CP3201435
       31.     Tapler remarked that it was not a big deal, as his previous white co-workers told

his black peers that they “better not mess up” because the white co-workers had a rope.

       32.     Tapler’s comment conveyed that black co-workers were threatened with hanging

should they make mistakes at work.

       33.     That afternoon, Plaintiff was brought to Defendant’s human resources office by

Peavyhouse.

       34.     Peavyhouse and Defendant’s human resources official gave Plaintiff a “final”

disciplinary action for leaving work with a migraine the day prior.

       35.     Plaintiff truthfully stated that he had informed his supervisor of his need to leave

early due to the migraine.

       36.     Plaintiff additionally re-raised his concerns to Peavyhouse and Defendant’s human

resources official regarding the racist behavior in the workplace, Defendants failure to

appropriately respond to such behavior, and what appeared to be escalating retaliation in response

to Plaintiff’s complaints of racist behavior.

       37.     Four days later, on September 6, 2022, Peavyhouse began to intensely criticize and

scrutinize Plaintiff’s actions at work.

       38.     Peavyhouse criticized Plaintiff for taking too long to use the bathroom.

       39.     Peavyhouse stood over Plaintiff and demanded that Plaintiff work harder and faster.

       40.     Plaintiff stated to Peavyhouse that Plaintiff could tell that Peavyhouse was trying

to provoke Plaintiff in effort to make Plaintiff quit.

       41.     Peavyhouse then terminated Plaintiff’s employment.

       42.     Peavyhouse terminated Plaintiff in front of eight of Plaintiff’s unprivileged co-

workers.



                                                   5
3:24-cv-02651-MGL-SVH            Date Filed 04/30/24         Entry Number 1-1       Page 7 of 10




                                                                                                      ELECTRONICALLY FILED - 2024 Apr 01 11:49 AM - LEXINGTON - COMMON PLEAS - CASE#2024CP3201435
       43.     Peavyhouse falsely alleged that Plaintiff was insubordinate and/or unfit for his

profession.

                            FOR A FIRST CAUSE OF ACTION
                        (Violations of Title VII - Race Discrimination)

       44.     Plaintiff realleges the foregoing where consistent.

       45.     Plaintiff is a member of a protected class based on his race.

       46.     Plaintiff met the legitimate performance expectations of his job.

       47.     Plaintiff was held to a stricter standard than his white peers.

       48.     Plaintiff was subjected to harassment, disparate treatment, and a racially hostile

work environment as a result of the discriminatory and harassing behavior that his supervisors and

co-workers engaged in and permitted because of his race.

       49.     Defendant’s management failed or refused to appropriately respond to identified

instances of racial discrimination in the workplace.

       50.     Plaintiff suffered harassment, disparate terms and conditions of employment, and

termination. These adverse employment actions were motivated by his race in violation of Title

VII.

       51.     The above actions amount to unlawful race discrimination prohibited by Title VII

of the Civil Rights Act of 1964, The Civil Rights Act of 1991 and amendments thereto and is the

proximate cause of the Plaintiff’s loss of earnings, loss of prospective earnings and benefits,

embarrassment, humiliation and mental anguish, personal injury, and mental suffering for which

the Plaintiff is entitled to the awards of actual damages as well as reasonable attorney’s fees and

costs of this proceeding. Plaintiff is further entitled to an award of punitive damages for the

intentional, wanton, reckless, and/or malicious behavior of Defendant.

                            FOR A SECOND CAUSE OF ACTION

                                                 6
3:24-cv-02651-MGL-SVH              Date Filed 04/30/24       Entry Number 1-1         Page 8 of 10




                                                                                                        ELECTRONICALLY FILED - 2024 Apr 01 11:49 AM - LEXINGTON - COMMON PLEAS - CASE#2024CP3201435
                               (Violations of Title VII - Retaliation)

        52.     Plaintiff realleges the foregoing where consistent.

        53.     Plaintiff engaged in protected activities when he contacted Defendant’s

management and human resources department to complain of race-based discrimination, including

disparate treatment, harassment, retaliation, and hostile work environment.

        54.     Defendant and its relevant decisionmakers were on notice of Plaintiff’s protected

activities when it took adverse employment action against Plaintiff.

        55.     Plaintiff suffered harassment, hostile work environment, disparate terms and

conditions of employment, and termination. These adverse employment actions were because of

Plaintiff’s protected activities under Title VII.

        56.     The above amounts to unlawful retaliation prohibited by Title VII of the Civil

Rights Act of 1964, The Civil Rights Act of 1991 and amendments thereto and is the proximate

cause of the Plaintiff’s loss of earnings, loss of prospective earnings and benefits, embarrassment,

humiliation and mental anguish, personal injury, and mental suffering for which the Plaintiff is

entitled to the awards of actual damages as well as reasonable attorney’s fees and costs of this

proceeding. Plaintiff is further entitled to an award of punitive damages for the intentional,

wanton, reckless, and/or malicious behavior of Defendant.

                              FOR A THIRD CAUSE OF ACTION
                                       (Defamation)

        57.     Plaintiff realleges the foregoing where consistent.

        58.     Plaintiff is not a public figure.

        59.     Defendant defamed Plaintiff by asserting to Plaintiff’s peers and subordinates that

Plaintiff was justifiably terminated, that Plaintiff had not properly executed the duties of his job,




                                                    7
3:24-cv-02651-MGL-SVH             Date Filed 04/30/24        Entry Number 1-1          Page 9 of 10




                                                                                                         ELECTRONICALLY FILED - 2024 Apr 01 11:49 AM - LEXINGTON - COMMON PLEAS - CASE#2024CP3201435
that Plaintiff engaged in unprofessional or insubordinate behavior, and/or that Plaintiff left his job

without informing management.

          60.    Defendant published its defamatory assertions to Plaintiff’s unprivileged peer and

subordinate co-workers.

          61.    The recipients of Defendant’s defamatory statements were not within a need-to-

know basis.

          62.    Defendant’s accusations were false, known to be false, and made with malice.

          63.    Defendant’s accusations impugned Plaintiff’s professional aptitude and are thus

defamatory per se.

          64.    Defendant’s accusations amount to unlawful defamation for which Defendant is

liable.

          65.    As a direct and proximate result of the defamatory conduct, Plaintiff has suffered

reputational loss, been embarrassed, humiliated, and has sustained mental anguish. Plaintiff is

entitled to an award of actual damages against Defendant, including damages for emotional pain

and suffering, in amounts to be determined by a jury. Plaintiff is further entitled to an award of

reasonable attorney’s fees and costs for this action.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays for judgment against the Defendant for an award of actual

and compensatory damages in amounts to be determined by a jury as well as reasonable attorney’s

fees, costs of this action, punitive damages, nominal damages, an award of pre-judgement interest,

a lump sum tax-offset award, specific performance of reinstatement and a written apology, and

any such other relief as this Court deems just and proper.




                                                  8
3:24-cv-02651-MGL-SVH      Date Filed 04/30/24    Entry Number 1-1      Page 10 of 10




                                                                                        ELECTRONICALLY FILED - 2024 Apr 01 11:49 AM - LEXINGTON - COMMON PLEAS - CASE#2024CP3201435
                                      Respectfully submitted,

                                      CROMER BABB & PORTER, LLC

                                      BY: s/ Chance Sturup
                                             J. Paul Porter (#100723)
                                             Chance Sturup (#105647)
                                             Post Office Box 11675
                                             Columbia, South Carolina 29211
                                             Phone: 803-799-9530
                                             Fax: 803-799-9533
                                             chance@cromerbabb.com
                                             paul@cromerbabb.com
                                             Attorneys for Plaintiff

April 1, 2024
Columbia, South Carolina




                                         9
